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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                       AT OWENSBORO
                               CIVIL ACTION NO. 4:14CV-00046-M

 KEVIN LEE PERRY, ET. AL.                                                               PLAINTIFFS

 vs.

 OWENSBORO HEALTH, INC.                                                                DEFENDANT

                                         AGREED ORDER


          This matter has come before the Court upon representation of both parties that they are in

 agreement regarding the referral of this case back to State court. The Court has considered its

 Judgment entered on the 16th day of July, 2015, wherein Plaintiffs’ State Court claims were dismissed

 without prejudice (DN 37). The court has further considered the necessity for a mechanism by

 which the matter can properly be referred back to State court.

          WHEREFORE, upon the Court being so advised and based upon the representation that

 the parties are in agreement, the Court hereby orders, decrees and adjudges as follows:

          Plaintiffs’ State Court claims which were dismissed without prejudice can now be properly

 remanded back to State court for further proceedings in action 10-CI-01759, Daviess County Circuit

 Court.



 Seen and Agreed by:


 /s/ Travis L. Holtrey_______
 Travis L. Holtrey, Esq. 86224                                                 July 27, 2015

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 Counsel for Defendant, Owensboro Health, Inc.


                                     CERTIFICATE OF SERVICE

          I hereby certify that on July 23, 2015 a copy of the above and foregoing Agreed Order was
 filed with the Clerk of the Court using the CM/ECF system which sent notification of such filing to
 the following:

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                                                 /s/ Travis L. Holtrey
                                                 Travis L. Holtrey, Esq.
                                                 Hollie B. Lindsey, Esq.
